     Case 8:14-cv-00768-JVS-DFM Document 26 Filed 01/30/15 Page 1 of 1 Page ID #:98



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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10    Essociate Inc.,                )              SACV 14-00768 JVS (DFMx)
                                     )
11                                   )              ORDER OF DISMISSAL UPON
                   Plaintiff,        )
12                                   )              SETTLEMENT OF CASE
            v.                       )
13                                   )
      Integrate.com, Inc.,           )
14                                   )
                   Defendant(s).     )
15                                   )
                                     )
16    ______________________________ )
17
            The Court having been advised by the counsel for the parties that the above-
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      entitled action has been settled,
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        IT IS ORDERED that this action be and is hereby dismissed in its entirety without
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      prejudice to the right, upon good cause being shown within 60 days, to reopen the
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      action if settlement is not consummated.
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23
      DATED:January 30, 2015                      ___________________________
24
                                                      James V. Selna
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                                                  United States District Judge
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